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                          UNITED STATES DISTRICT COURT

                          EASTERN DISTRICT OF LOUISIANA

IN RE: IN THE MATTER OF THE                         CIVIL ACTION
COMPLAINT OF TK BOAT RENTALS,
LLC, AS OWNER AND OPERATOR OF                       NO. 2:17-cv-01545
THE M/V MISS IDA PETITIONING FOR                    c/w 17-02446 and c/w 17-03657
EXONERATION FROM OR LIMITATION
OF LIABILITY                                        SECTION “R” MAG. DIV. (4)

                                                    JUDGE VANCE
Pertains to All Actions
                                                    MAGISTRATE ROBY


                STATEMENT OF UNCONTESTED MATERIAL FACTS

       NOW INTO COURT, through undersigned counsel, comes Defendant, Extreme

Fishing, L.L.C., who, for purposes of the accompanying Motion for Summary Judgment,

respectfully avers that the following material facts are not genuinely disputed:

       1.     Former Defendant, Troy Wetzel, in his individual capacity, owns three

              boats: KINGFISH, KINGFISH II, and K3. See Deposition of Troy Wetzel

              (“Wetzel Depo.”) at p. 9 ln. 10-21 (KINGFISH); p. 10 ln. 8-19 (KINGFISH

              II); p. 12 ln. 25, p. 13 ln. 1-16 (K3) (attached as Exhibit A to Memorandum

              in Support).

       2.     Approximately fifteen years ago, Mr. Wetzel formed a single member

              limited liability company named Extreme Fishing, L.L.C (“Extreme

              Fishing”). See Wetzel Depo. at p. 8 ln. 11-13, 19-23 (attached as Exhibit

              A to Memorandum in Support).

       3.     Mr. Wetzel is the only member of Extreme Fishing. See Wetzel Depo. at

              p. 8 ln. 18-20 (attached as Exhibit A to Memorandum in Support).
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  4.    The sole business of Extreme Fishing is to conduct charter fishing trips out

        of Venice, Louisiana.   See Wetzel Depo. at p. 9 ln. 5-9 (attached as

        Exhibit A to Memorandum in Support).

  5.    In furtherance of its purpose, Extreme Fishing does business under the

        trade name of Louisiana Offshore Fishing Charters. See Wetzel Depo. at

        p. 7 ln. 14-25; p. 8 ln. 1-12; p. 58 ln. 16-19 (attached as Exhibit A to

        Memorandum in Support).

  6.    In order for Extreme Fishing to conduct its charter fishing trips, Extreme

        Fishing charters Mr. Wetzel’s three boats on a bareboat or demise charter

        basis. See Wetzel Depo. at p. 9 ln. 10-21; p. 10 ln. 8-19; p. 13 ln. 5-10

        (attached as Exhibit A to Memorandum in Support).

  7.    Extreme Fishing has no employees, but rather uses six or seven individual

        captains as independent contractors to operate the boats that it charters

        from Mr. Wetzel. See Wetzel Depo. at p. 11 ln. 3-24 (attached as Exhibit

        A to Memorandum in Support).

  8.    These independent-contractor captains generally move from boat to boat

        working for many different charter fishing companies in Venice, as

        demand requires, and they do not work exclusively for any one company.

        See Wetzel Depo. at p. 15 ln. 16-25; p. 16 ln. 1-25; p. 17 ln. 1-2 (attached

        as Exhibit A to Memorandum in Support); Deposition of Andre Boudreau

        (“Boudreau Depo.”) at p. 253 ln. 14-25; p. 254 ln. 1-10 (attached as Exhibit

        C to Memorandum in Support).




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  9.    Defendant, Andre Boudreau, was one of the independent-contractor

        captains that Extreme Fishing used to operate the chartered boats. See

        Wetzel Depo. at p. 11 ln. 15-24 (attached as Exhibit A to Memorandum in

        Support).

  10.   When Andre Boudreau was an independent-contractor captain aboard

        one of Extreme Fishing’s chartered boats, he would be working for

        Extreme Fishing, and would be paid by Extreme Fishing. See Wetzel

        Depo. at p. 66 ln. 21-25; p. 67 ln. 1-11 (attached as Exhibit A to

        Memorandum in Support).

  11.   Andre Boudreau did not draw a regular salary from Extreme Fishing, see

        Wetzel Depo. at p. 18 ln. 3-16 (attached as Exhibit A to Memorandum in

        Support); instead, Boudreau would receive the normal Captain’s fee in

        Venice of $500 a day when he was a captain on a vessel chartered by

        Extreme Fishing, see Wetzel Depo. at p. 19 ln. 2-6 (attached as Exhibit A

        to Memorandum in Support).

  12.   Andre Boudreau received a Form 1099 because he was not an employee.

        See Boudreau Depo. at p. 63 ln. 2-10 (attached as Exhibit C to

        Memorandum in Support).

  13.   Troy Wetzel is also a licensed boat captain, and he likewise served as a

        captain of Extreme Fishing’s chartered vessels on some fishing trips. See

        Wetzel Depo. at p. 64 ln. 10-14 (attached as Exhibit A to Memorandum in

        Support).




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  14.   Normally, when a charter fishing trip is booked with Extreme Fishing, Troy

        Wetzel receives a telephone call from a customer, and he tells the

        customer what boat they will be on and the customer sends in a deposit.

        See Wetzel Depo. at p. 43 ln. 19-22 (attached as Exhibit A to

        Memorandum in Support).

  15.   In early February of 2017, Plaintiff Patrick Beck telephoned Troy Wetzel

        on short notice to schedule a charter fishing trip for February 12, 2017,

        and there was no time to obtain a deposit from Mr. Beck. See Wetzel

        Depo. at p. 43 ln. 24-25; p. 44 ln. 1-3; p.    64 ln. 3-5; p. 65 ln. 5-11

        (attached as Exhibit A to Memorandum in Support).

  16.   Mr. Wetzel informed Mr. Beck that he had a boat available for a charter

        fishing trip, and that Mr. Beck’s fishing trip would be on the vessel

        KINGFISH. See Wetzel Depo. at p. 66 ln. 3-5 (attached as Exhibit A to

        Memorandum in Support).

  17.   Because Mr. Wetzel was caring for his parents at the time of Mr. Beck’s

        trip, Andre Boudreau was going to be the captain for Mr. Beck’s charter

        fishing trip and not Mr. Wetzel.   See Wetzel Depo. at p. 64 ln. 15-21

        (attached as Exhibit A to Memorandum in Support).

  18.   On February 11, 2017—the day before Mr. Beck’s fishing trip—the

        KINGFISH suffered an engine casualty and was no longer available to be

        used for Mr. Beck’s trip. See Boudreau Depo. at p. 73 ln. 7-14 (attached

        as Exhibit C to Memorandum in Support); Wetzel Depo. at p. 44 ln. 4-10

        (attached as Exhibit A to Memorandum in Support).



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  19.   Andre Boudreau, who was the Captain aboard the KINGFISH at the time

        of the engine casualty, informed Mr. Wetzel of the extent of the problem

        with the KINGFISH, and Mr. Wetzel, knowing that the KINGFISH could not

        be repaired in time, asked Boudreau if he knew of any other boats that

        could be used for Mr. Beck’s fishing trip the next morning. See Wetzel

        Depo. at p. 42 ln. 15-25 (attached as Exhibit A to Memorandum in

        Support).

  20.   Andre Boudreau then contacted Chase St. Clair, who was the owner of

        the M/V SUPER STRIKE, to inquire as to whether the SUPER STRIKE

        would be available for Mr. Beck’s fishing trip the next morning on February

        12, 2017, and was told that the vessel was available.       See Boudreau

        Depo. at p. 73 ln. 15-25 (attached as Exhibit C to Memorandum in

        Support).

  21.   Mr. St. Clair had no conversations with Troy Wetzel about the availability

        or use of the SUPER STRIKE. See Deposition of Chase St. Clair, Sr. (“St.

        Clair Depo.”) at p. 48 ln. 11-23 (attached as Exhibit D to Memorandum in

        Support); Wetzel Depo. at p. 44 ln. 11-13 (attached as Exhibit A to

        Memorandum in Support).

  22.   After Andre Boudreau informed Mr. Wetzel that a boat was available, Mr.

        Wetzel contacted Mr. Beck to tell him that the boat they were supposed to

        use for his fishing trip the next day was no longer available, but that Mr.

        Wetzel could give the fishing trip to another company, and they would take

        Mr. Beck’s group fishing. See Wetzel Depo. at p. 41 ln. 19-25; p. 42 ln. 1-



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        11; p. 43 ln. 1-18; p. 44 ln. 4-10 (attached as Exhibit A to Memorandum in

        Support); Boudreau Depo. at p. 68 ln. 24-25; p. 69 ln. 1-22; p. 73 ln. 7-14

        (attached as Exhibit C to Memorandum in Support).

  23.   Mr. Beck agreed to the use of a different boat for his fishing trip, and Mr.

        Wetzel informed Andre Boudreau. See Wetzel Depo. at p. 43 ln. 13-18; p.

        44 ln. 4-10 (attached as Exhibit A to Memorandum in Support).

  24.   Boudreau had a key to Chase St. Clair’s shed where the M/V SUPER

        STRIKE was stored, and he went and picked up the vessel and then

        brought the vessel to Venice. See Boudreau Depo. at p. 73 ln. 22-25; p.

        201 ln. 10-25; p. 202 ln. 1 (attached as Exhibit C to Memorandum in

        Support).

  25.   On February 12, 2017, the M/V SUPER STRIKE, with Troy Wetzel still in

        New Orleans, got underway from Venice, Louisiana, at approximately 6:40

        a.m. with Captain Boudreau, Mr. Beck, and the other plaintiffs aboard, with

        visibility reduced to 50-75 yards due to fog. See Boudreau Depo. at p. 66

        ln. 4-23; p. 84 ln. 1-14; p. 90 ln. 1-22 (attached as Exhibit C to

        Memorandum in Support).

  26.   Captain Boudreau had no conversations with Mr. Wetzel or Mr. St. Clair

        regarding the reduced visibility prior to getting underway, and the decision

        to actually get underway was solely that of Captain Boudreau.          See

        Boudreau Depo. at p. 93 ln. 16-21; p. 94 ln. 5-7 (attached as Exhibit C to

        Memorandum in Support); Wetzel Depo. at p. 50 ln. 2-15 (attached as

        Exhibit A to Memorandum in Support).



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  27.   Captain Boudreau testified that once the M/V SUPER STRIKE backed

        away from the dock, the responsibility for the safety of the vessel and for

        providing the customers with a safe trip rested solely with him.      See

        Boudreau Depo. at p. 285 ln. 11-25; p. 286 ln. 1-2 (attached as Exhibit C

        to Memorandum in Support).

  28.   A short time after the SUPER STRIKE reached the Mississippi River, the

        M/V IDA collided with the SUPER STRIKE. See Complaint for Damages

        at ¶16 (Rec. Doc. 1 in consolidated action No. 17-02446).

  29.   Extreme Fishing was not the owner of the M/V SUPER STRIKE that was

        being operated by Andre Boudreau. See Order and Reasons at p. 11

        (Rec. Doc. 87 in No. 17-01545).

  30.   Andre Boudreau has been licensed by the U.S. Coast Guard since 2014

        as an Operator of Uninspected Passenger Vessel (OUPV 6-Pack) of less

        than 100 gross tons and limited to six or less passengers for hire. See

        Boudreau Depo. at p. 14 ln. 24-25, p. 15 ln. 1-16, p. 245 ln. 11-25, p. 246

        ln.1 & Exhibit No. 27 (at Answer to Interrogatory No. 13) attached thereto

        (attached as Exhibit C to Memorandum in Support).

  31.   Prior to the collision at issue in this case, Andre Boudreau had never been

        involved in a reportable incident to the U.S. Coast Guard. See Boudreau

        Depo. at p. 251 ln. 4-9 (attached as Exhibit C to Memorandum in Support).

  32.   Boudreau has also never had his license revoked or suspended by the

        Coast Guard. See Boudreau Depo. at p. 20 ln. 5-7 (attached as Exhibit C

        to Memorandum in Support).



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  33.   Prior to starting commercial fishing and obtaining his Coast Guard license,

        Andre Boudreau had over five years of experience privately fishing

        offshore using the same type of boat, the same type of equipment, and

        traveling the same area. See Boudreau Depo. at p. 243 ln. 15-25, p. 244

        ln. 1-19 (attached as Exhibit C to Memorandum in Support).

  34.   Between 2009 and 2014 when Boudreau received his Coast Guard

        license, Boudreau had navigated the Mississippi River approximately 65 to

        100 times per year. See Boudreau Depo. at p. 243 ln. 10-25, p. 244 ln. 1-

        19 (attached as Exhibit C to Memorandum in Support).

  35.   Boudreau has attended and successfully passed various schools and

        courses, including The Captain School, see Boudreau Depo. at p. 15 ln.

        17-25, p. 16 ln. 1 & Exhibit 24 attached thereto (attached as Exhibit C to

        Memorandum in Support), and the Boater Safety Course in 2013 prior to

        getting his license, see Boudreau Depo. at p. 246 ln. 3-25, p. 247 ln. 1-20

        & Exhibit 42 attached thereto (attached as Exhibit C to Memorandum in

        Support).

  36.   Prior to the collision at issue, Andre Boudreau had operated the M/V

        SUPER STRIKE approximately nine times while running charter fishing

        trips for a company called Intensity Outfitters that was owned by Josh

        Bodenheimer. See Boudreau Depo. at p. 45 ln. 24-25, p. 46 ln. 1-25, p.

        47 ln. 1-25, p. 48 ln. 1-25, p. 49 ln. 1-25, p. 50 ln. 1-25, p. 51 ln. 1-25, p.

        52 ln. 1, p. 268 ln. 8-25, p. 269 ln. 1-25, p. 270 ln. 1-24 & Exhibit 28

        attached thereto (attached as Exhibit C to Memorandum in Support).



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  37.   Once Mr. Wetzel’s vessel, the M/V KING FISH, was not available to be

        used for Mr. Beck’s fishing trip due to an engine casualty, the fishing trip

        was given away to Mr. Boudreau. See Wetzel Depo. at p. 76 ln. 15-23

        (attached as Exhibit A to Memorandum in Support).

  38.   Once Mr. Beck’s trip was given away to Mr. Boudreau, it was up to both

        Mr. Boudreau and the owner of the vessel that was going to be used for

        the fishing trip to determine the cost that Mr. Beck would be charged for

        the trip. See Wetzel Depo. at p. 75 ln. 12-25, p. 76 ln. 1-7 (attached as

        Exhibit A to Memorandum in Support).

  39.   On the day of the incident, Mr. Wetzel did not control when Andre

        Boudreau was supposed to leave the dock, the route to take to the fishing

        ground, the speed to use, the location to fish, or how long to fish. See

        Boudreau Depo. at p. 251 ln. 20-25, p. 252 ln. 1-5 (attached as Exhibit C

        to Memorandum in Support).

  40.   On the day of the incident, the decision to leave the dock that morning

        rested solely with Andre Boudreau, and Boudreau was solely responsible

        for the safety of everybody aboard the M/V SUPER STRIKE.               See

        Boudreau Depo. at p. 285 ln. 11-25, p. 286 ln. 1-2 (attached as Exhibit C

        to Memorandum in Support).

  41.   Andre Boudreau provided the “rods, reels, fishing nets and other fishing

        equipment” on the M/V SUPER STRIKE on the day of the incident, and

        Chase St. Clair provided the vessel to be used that day. See Boudreau




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             Depo. at Exhibit 28 attached thereto (Answers to Interrogatory Nos. 6 & 7)

             (attached as Exhibit C to Memorandum in Support).

      42.    Mr. Boudreau has a full-time job working for his father, and he only fishes

             on the weekends if he receives enough advance notice. See Boudreau

             Depo. at p. 40 ln. 13-25, p. 41 ln. 1-25, p. 42 ln. 1-25, p. 43 ln. 1-20, p. 252

             ln. 24-25, p. 253 ln. 1-7 (attached as Exhibit C to Memorandum in

             Support).

                                  Respectfully submitted,

                                  DAIGLE, FISSE & KESSENICH, PLC

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                              CERTIFICATE OF SERVICE

      I do hereby certify that a copy of the above and foregoing has been served upon

all counsel of record by electronic notice in accordance with Local Rules to those

counsel receiving electronic notice, and all others by depositing same in the United

States Mail, postage prepaid and properly addressed, this 22nd day of May, 2018.


                                          /s/ Kirk N. Aurandt
                                          KIRK N. AURANDT




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